         Case 1:20-cv-03010-APM Document 642 Filed 08/14/23 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,
                                                       CASE No.: 1:20-cv-03010-APM
                                 Plaintiffs,
                                                       HON. AMIT P. MEHTA
                  v.

  GOOGLE LLC,

                                 Defendant.




  STATE OF COLORADO, et al.,

                                 Plaintiffs,           CASE No.: 1:20-cv-03715-APM

                 v.                                    HON. AMIT P. MEHTA

  GOOGLE LLC,

                                 Defendant.

                      NON-PARTY PETITIONER APPLE INC.’S MOTION
                            FOR LEAVE TO FILE UNDER SEAL

       Non-Party Apple Inc. (“Apple”) hereby moves the Court, pursuant to Federal Rule of Civil

Procedure 7(b) and Local Civil Rules 5.1(h) and 7, for leave to file under seal certain materials

included in the accompanying Motion to Quash Trial Subpoenas (the “Motion”) and exhibits.

Pursuant to Local Civil Rule 7(m), counsel for Apple conferred with counsel for the United States,

and counsel for the United States does not object to this motion, reserving the right to seek

unsealing after filing. Counsel for Apple has also conferred with the Plaintiff States and they do

not object to this motion, reserving the right to seek unsealing after filing. Counsel for Apple has

also conferred with counsel for Google, and counsel for Google does not oppose this motion.
         Case 1:20-cv-03010-APM Document 642 Filed 08/14/23 Page 2 of 6



       Apple seeks to: (1) seal in their entirety exhibits containing excerpts of deposition

transcripts (namely, Lent Decl. Exs. E, F, G, and H); and (2) redact portions of an exhibit

containing a corporate deposition notice to Apple (namely, Lent Decl. Ex. I).1 These documents

contain references to information reflecting Apple’s internal commercial decision-making and

assessment of commercial partners, negotiations with commercial partners, internal product

development plans, and the terms of Apple’s commercial agreements.

       Deposition Excerpts. Apple seeks to seal deposition excerpts that disclose Apple’s

assessment of and negotiations with commercial partners, Apple’s internal product development

efforts, and the terms of Apple’s commercial agreements. See Lent Decl. Exs. E, F, G, and H.

This information could be used by rivals and partners in carrying out future negotiations or in

developing competing products or services to disadvantage Apple. These deposition excerpts

have been designated as Confidential Information or Highly Confidential Information under the

governing Protective Order in this action.

       Deposition Notice.      Apple also seeks minimal redactions to Exhibit I in Support of

Apple’s Motion to Quash Trial Subpoenas because it contains information that could disclose the

presence, absence, and/or contours of Apple’s internal product strategy and development. See

Lent Decl. Ex. I.2




1
 For the avoidance of doubt, Apple does not seek to seal the instant Motion for Leave to File
Under Seal, the Motion to Quash Trial Subpoenas, or any other part of its filing that is not identified
by the instant motion. Apple intends to file public versions of the materials not identified by this
motion when directed by the Court.
2
 Apple's proposed redactions to Exhibit I are reflected in yellow highlights in the version of
Exhibit I currently filed under seal on the docket.


                                                  2
         Case 1:20-cv-03010-APM Document 642 Filed 08/14/23 Page 3 of 6



                                              ARGUMENT

       The D.C. Circuit has outlined six factors, commonly referred to as the Hubbard factors,

that courts should weigh when presented with a motion to seal:

       (1) the need for public access to the documents at issue; (2) the extent of previous
       public access to the documents; (3) the fact that someone has objected to disclosure,
       and the identity of that person; (4) the strength of any property and privacy interests
       asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the
       purposes for which the documents were introduced during the judicial proceedings.

Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017) (quoting

EEOC v. Nat'l Children's Ctr. Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996)); see also United States

v. Hubbard, 650 F.2d 293, 317–22 (D.C. Cir. 1980). A court also must consider “particularized”

interests that specific contexts make relevant where the generalized factors do not adequately

account for such interests. See Hubbard, 650 F.2d at 322–24. “Protecting an entity’s ‘competitive

standing’ through retained confidentiality in business information” is “an appropriate justification

for the restriction of public or press access” to confidential commercial information. State of New

York v. Microsoft Corp., No. CIV.A. 98-1233 (CKK), 2002 WL 818073, at *1 (D.D.C. Apr. 29,

2002) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)). Courts recognize

that the need for such protection is “especially great” under Hubbard “where a third party’s

property and privacy rights are at issue.” 650 F.2d at 319; see also U.S. v. ISS Marine Servs., 905

F. Supp. 2d 121, 141 (D.D.C. 2012). And they further recognize that the need for protection is

important where parties produce information “in reliance on continuing confidentiality.” See

Mokhiber v. Davis, 537 A.2d 1100, 1116 (D.C. 1988) (per curiam).

       Here, the factors weigh in favor of sealing the discrete set of materials identified by Apple.

At the start, there is limited need for public access to the records, and the ancillary purposes for

which the records are being introduced weighs strongly in favor of sealing. See Hubbard, 650




                                                 3
         Case 1:20-cv-03010-APM Document 642 Filed 08/14/23 Page 4 of 6




F.2d at 317–18 (distinguishing non-dispositive use of material in sealing determination). Apple

is a non-party that seeks to only seal materials supporting its Motion, a non-dispositive dispute

related to a motion to quash subpoenas. Further, these materials have not been publicly disclosed

before. Indeed, the deposition transcript excerpts included as exhibits to the Motion were

designated as Confidential Information or Highly Confidential Information under the governing

Protective Order in this action.

       Apple has a significant interest in maintaining the confidentiality of the information it

seeks to maintain under seal and would be seriously prejudiced by its disclosure. The disclosure

of this information would substantially harm Apple’s commercial and competitive standing by

giving its rivals and commercial partners insight into its internal decision-making. The deposition

excerpts contain information that could disclose Apple’s (1) commercial decision-making and

assessment of commercial partners; (2) Apple’s negotiations with commercial partners; (3)

Apple’s internal product development; and (4) the terms of Apple’s commercial agreements. See

Lent Decl. Exs. E, F, G, and H. Disclosure of this information would provide competitors and

partners with “unfair insight into [Apple’s] business strategy” and allow them to leverage Apple’s

confidential information in carrying out future negotiations or in developing competing products

or services. Anthem I, 2016 WL 11164059, at *2-3. In addition, the sealed information in Exhibit

I could disclose the presence, absence, and/or contours of Apple’s internal product strategy and

development, the disclosure of which would harm Apple by providing competitors unfair insight

into Apple’s product strategy. Ex. I. Accordingly, Apple’s interest in protecting that confidential

information and the harm that it will suffer from disclosure weigh in favor of sealing the limited

information over which Apple seeks protection.




                                                 4
         Case 1:20-cv-03010-APM Document 642 Filed 08/14/23 Page 5 of 6




        For these reasons, Apple respectfully requests that the Court grant its motion for leave to

file under seal.



Dated: August 11, 2023                               Respectfully submitted,


                                                     /s/ Steven C. Sunshine
                                                     Steven C. Sunshine
                                                     D.C. Bar # 450078
                                                     Skadden, Arps, Slate, Meagher & Flom LLP
                                                     1440 New York Avenue, N.W.
                                                     Washington, DC 20005
                                                     (202) 371-7860
                                                     steve.sunshine@skadden.com

                                                     Karen Hoffman Lent (pro hac vice)
                                                     Skadden, Arps, Slate, Meagher & Flom LLP
                                                     One Manhattan West
                                                     New York, NY 10001
                                                     (212) 735-3276
                                                     karen.lent@skadden.com

                                                     Counsel for Non-Party Petitioner Apple Inc.




                                                 5
         Case 1:20-cv-03010-APM Document 642 Filed 08/14/23 Page 6 of 6




                                    Certificate of Service

       I hereby certify that I caused the sealed document and a copy of the NEF to be served by

email on all counsel of record.




 Dated: August 11, 2023                          /s/ Steven C. Sunshine
                                                 Steven C. Sunshine
                                                 D.C. Bar # 450078
                                                 Skadden, Arps, Slate, Meagher & Flom LLP
                                                 1440 New York Avenue, N.W.
                                                 Washington, DC 20005
                                                 (202) 371-7860
                                                 steve.sunshine@skadden.com
